                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE


GLOBAL FORCE                  )
ENTERTAINMENT, INC. and       )
JEFFREY JARRETT               )
                              )
     Plaintiff,               )
                              )
v.                            )                      CIVIL ACTION NO. 3:18-cv-00749
                              )                      CHIEF JUDGE CRENSHAW
ANTHEM SPORTS & ENTERTAINMENT )                      MAGISTRATE JUDGE BROWN
CORP. and ANTHEM WRESTLING    )                      JURY DEMAND
EXHIBITIONS, LLC,             )
                              )
     Defendants.              )


                             SECOND AMENDED COMPLAINT


       Plaintiffs Global Force Entertainment, Inc. (“GFE”) and Jeffrey Jarrett (collectively

“Plaintiffs”), for their Second Amended Complaint against Defendants Anthem Sports &

Entertainment Corp. and Anthem Wrestling Exhibitions, LLC (collectively “Defendants”) state as

follows:

                                     I.     THE PARTIES

       1.     GFE is a Tennessee corporation having its principal place of business in

Goodlettsville, Tennessee.

       2.     Mr. Jarrett is a Tennessee resident.

       3.     Upon information and belief, Defendant Anthem Sports & Entertainment Corp.

(“Anthem Sports”) is incorporated and has its principal place of business in Ontario, Canada.

Defendants’ registered agent is Corporation Trust Company, Corporation Trust Center, 1209

Orange Street, Wilmington, Delaware 19801.



                                     1 02/21/19 Page 1 of 32 PageID #: 450
   Case 3:18-cv-00749 Document 54 Filed
       4.      Upon information and belief, Defendant Anthem Wrestling Exhibitions, LLC

(“Anthem Wrestling”) is a wholly-owned subsidiary of Anthem Sports and is a Delaware limited

liability company having its principal place of business in Toronto, Canada. Defendants’ registered

agent is CT Corporation Systems, 300 Montvue Road, Knoxville, Tennessee 37919-5546.

       5.      Upon information and belief, Anthem Sports and Anthem Wrestling share common

ownership, executives, lawyers, office space, employees, equipment, and physical locations. Upon

information and belief, Anthem Sports and Anthem Wrestling operate under common and/or joint

leadership such that they focus as one unitary entity.

                                    II.   NATURE OF ACTION

       6.      This is an action for (a) copyright infringement under the Copyright Act; (b)

violations of the Tennessee Personal Rights Protection Act; (c) trademark infringement, unfair

competition, and false designation of origin under the Lanham Act; (d) unfair competition under

Tennessee law; (e) violations of the Tennessee Consumer Protection Act; and (f) tortious

interference under Tennessee law.

                             III.     JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction over this action under 15 U.S.C. §§ 1119,

1121, and 28 U.S.C. § 1338 in that this case arises under Lanham Act; 28 U.S.C. § 1338 in that

this case arises under the Copyright Act; 28 U.S.C. § 1331 as it involves a federal question; and

28 U.S.C. § 2201 in that it involves a declaratory judgment.

       8.      This Court has subject matter jurisdiction over the unfair competition claims herein

under the provisions of 28 U.S.C. § 1338(b) in that said claims are joined with a substantial and

related claim under the Lanham Act.




                                     2 02/21/19 Page 2 of 32 PageID #: 451
   Case 3:18-cv-00749 Document 54 Filed
        9.      This Court has supplemental jurisdiction over the claims that arise under Tennessee

law pursuant to 28 U.S.C. § 1367(a) because they are substantially related to the claims that arise

under the Lanham Act of the United States. Furthermore, this Court has supplemental jurisdiction

because both the state and federal claims are derived from a common nucleus of operative facts

and considerations of judicial economy dictate the state and federal issues be consolidated for a

single trial.

        10.     Further and in the alternative, this Court has jurisdiction over all claims pursuant to

28 U.S.C. § 1332. Defendant Anthem Sports is domiciled in Ontario, Canada. Defendant Anthem

Wrestling is domiciled in Delaware and Ontario, Canada. Plaintiffs are domiciled in Tennessee.

Plaintiffs are completely diverse from Defendants and the amount in controversy exceeds $75,000.

        11.     This Court has general personal jurisdiction over Defendants based on their

continuous and systematic minimum contacts with residents of Tennessee through the distribution

and sale of Defendants’ products, events, and services in Tennessee, and Defendants’

representatives’ promotion and marketing activities in Tennessee. This Court also has specific

personal jurisdiction over Defendants based on their purposeful direction of promotional and

advertising activities and sales of its products, events, and services to residents and customers in

Tennessee. Additionally, this Court has personal jurisdiction under TENN. CODE ANN. § 20-2-201

et seq., because (1) Defendants have transacted business in Tennessee; (2) the tortious acts or

omissions occurred in Tennessee; (3) the damages occurred in Tennessee to corporation with a

principal place of business in Tennessee; and (4) jurisdiction based on Defendants’ contacts with

Tennessee (including, but not limited to, sales of products) is not inconsistent with the Constitution

of the State of Tennessee or the Constitution of the United States.




                                      3 02/21/19 Page 3 of 32 PageID #: 452
    Case 3:18-cv-00749 Document 54 Filed
       12.      Venue is proper in the Court under 28 U.S.C. § 1391(b) and § 1391(c), and because

Defendants are subject to personal jurisdiction pursuant to Tennessee’s long arm statute, TENN.

CODE ANN. § 20-2-201 et seq.

                                 IV.    THE CONTROVERSY

         A.      PLAINTIFFS’ HISTORY, TRADEMARKS, AND COPYRIGHTS

       13.      Mr. Jarrett is a famous wrestler from a famous wrestling family. Following his

grandmother’s successful business as a promoter of wrestling matches and co-owner of a regional

wrestling promotion, Mr. Jarrett began his career in his father’s Continental Wrestling Association

in 1986. Mr. Jarrett first came to prominence upon debuting in 1992 in the World Wrestling

Federation (the “WWF”), which is now World Wrestling Entertainment, Inc. (known commonly

was the WWE). Over the next nine years, he alternated between the WWF and its main competitor,

World Championship Wrestling (“WCW”).

       14.      After WCW was purchased by the WWF in 2001, Mr. Jarrett joined the upstart

World Wrestling All-Stars (“WWA”) promotion. In 2002, Mr. Jarrett and his father together

founded NWA:TNA (now known as Impact Wrestling).

       15.      Mr. Jarrett has had seventy-seven (77) championship reigns throughout his career.

He is a seventeen-time world champion, having won the NWA World Heavyweight Championship

six times, the WCW World Heavyweight Championship four times, the WWA World

Heavyweight Championship twice, the USWA Unified World Heavyweight Championship three

times, and the AAA Mega Championship twice.

       16.      Mr. Jarrett was inducted into the TNA Hall of Fame in 2015 and the WWE Hall of

Fame in 2018.

       17.      After departing the TNA, Mr. Jarrett formed Global Force Entertainment, Inc.




                                     4 02/21/19 Page 4 of 32 PageID #: 453
   Case 3:18-cv-00749 Document 54 Filed
(“GFE”) in 2014 for the purpose of promoting wrestling events and creating original wrestling

programming for pay-per-view and television markets.

       18.      GFE operates under and is the owner of the “Global Force Wrestling” brand.

       19.      GFE owns the trademark and associated U.S. Registration No. 5,392,147 for

GLOBAL FORCE WRESTLING for use in connection with (1) posters and photographs; (2)

insulated containers for beverage cans for domestic use; (3) clothing, including, but not limited to,

t-shirts, bandanas and hats; (4) streaming of audio and video material on the Internet; and (5)

entertainment services, including, but not limited to, wrestling exhibitions and performances by

professional wrestlers and entertainers.

       20.      GFE also owns the trademark and associated U.S. Registration No. 5,453,775 for

GFW for use in connection with (1) posters and photographs; (2) insulated containers for beverage

cans for domestic use; (3) clothing, including, but not limited to, t-shirts, bandanas and hats; (4)

streaming of audio and video material on the Internet; and (5) entertainment services, including,

but not limited to, wrestling exhibitions and performances by professional wrestlers and

entertainers.

       21.      GFE also uses in interstate commerce, including, but not limited to, on its website,

the Global Force Wrestling logo and GFW logo with a distinctive green color as shown below

(background not claimed):




                                     5 02/21/19 Page 5 of 32 PageID #: 454
   Case 3:18-cv-00749 Document 54 Filed
       22.     On July 24, August 21, and October 23, 2015, at the Orleans Arena in Las Vegas,

Nevada, GFE, under the GLOBAL FORCE WRESTLING and GFW trademarks, produced

approximately sixteen (16) hours of original wrestling programming to market to television and/or

pay-per-view markets. The collective content was called “GFW Amped” and featured completely

original content owned solely by GFE.

       23.     GFE developed the GFW Amped characters, scripts, and action sequences, and

coordinated the music, commentary, set design, and other production aspects.

       24.     GFE filed applications for federal copyright registration for each of the 16 one-hour

GFW Amped videos on August 9, 2018, before the filing of this lawsuit. (Dkt. 1, Copyright

Application Filing Receipts attached hereto as Exhibit A and in the record at Dkt. 9-1).

       25.     GFE, as part of its applications for federal copyright registrations for each of the 16

one-hour GFW Amped videos, paid the required filing fees.

       26.     The last remaining step in the registration process is submission of deposit copies,

which GFE cannot provide to the Copyright Office due to Defendants’ unlawful possession and/or

deletion of the only master recordings of the 16 one-hour GFW Amped videos.

       27.     Defendants admit that the master recordings were deleted while in their custody

and no longer exist.

       28.     Plaintiffs are currently, and at all relevant times have been, the sole owners of all

right, title, and interest in and to the copyrights in the GFW Amped works.

       29.     GFW Amped features performance appearances by Mr. Jarrett.

       30.     The value of each of the 16 one-hour GFW Amped master recordings may exceed

$300,000 per recording.

        B.     DEFENDANTS’ HISTORY WITH PROFESSIONAL WRESTLING




                                     6 02/21/19 Page 6 of 32 PageID #: 455
   Case 3:18-cv-00749 Document 54 Filed
          31.   Upon information and belief, Anthem Sports, then named Anthem Media Group,

Inc., was formed in 2010 by Leonard Asper, through its acquisition of a majority stake in Fight

Network.

          32.   Fight Network is an international English language television channel that

broadcasts programming related to mixed martial arts, boxing, kickboxing, and professional

wrestling.

          33.   Fight Network is available via broadcast in countries throughout the world

including, but not limited to, Canada, United States, Portugal, Belgium, Angola, Mozambique,

Turkey, Bosnia, Serbia, Montenegro, and Italy, as well as regionally in the Middle East and North

Africa.

          34.   Upon information and belief, Fight Network is available to over 1.5 million

subscribers in the United States alone.

          35.   Upon information and belief, Fight Network also is available digitally via streaming

service worldwide on devices such as Apple TV, Roku, computers, and tablets.

          36.   Upon information and belief, in or around October 2016, Anthem Sports invested

in the TNA professional wresting company, which has since been rebranded as IMPACT!

Wrestling.

          37.   Upon information and belief, on or about December 23, 2016, Anthem Sports

formed Anthem Wrestling.

          38.   Upon information and belief, on or about January 4, 2017, Anthem Sports acquired

a majority stake in TNA under its subsidiary Anthem Wrestling.

      C.        THE RELATIONSHIP BETWEEN PLAINTIFFS AND DEFENDANTS




                                     7 02/21/19 Page 7 of 32 PageID #: 456
   Case 3:18-cv-00749 Document 54 Filed
       39.     In or around October 2016, Anthem Sports initiated discussions with Plaintiffs

related to merging with GFE in exchange for membership and equity in Anthem Sports. These

discussions also concerned hiring Mr. Jarrett as Chief Creative Officer for the wrestling portion of

Anthem Sports.

       40.     In conjunction with the merger and employment discussions, Jeff Jarrett and

Anthem Sports executed a certain agreement on December 9, 2016, a true and correct copy of

which was filed under seal as Exhibit 1 to the First Amended Complaint and is in the record at

Dkts. 15-1 and 17. Plaintiffs’ claims in this lawsuit are not brought under that agreement. That

agreement is simply background for the relationships between the parties.

       41.     In or around January 2017, Anthem Wrestling retained Mr. Jarrett as a consultant.

       42.     In or around January 2017, Mr. Jarrett provided the only set of masters for the 16

one-hour episodes of GFW Amped content to Defendants. Defendants continue to have the only

copy of the masters of the GFW Amped content in their possession.

       43.     In or around May 2017, Anthem Wrestling and Mr. Jarrett signed a term sheet

regarding Mr. Jarrett’s employment as the Chief Creative Officer of Anthem Wrestling and the

merger to be completed in which Anthem Wrestling would acquire GFE. A true and correct copy

of the term sheet was filed under seal as Exhibit 2 to the First Amended Complaint and is in the

record at Dkts. 15-2 and 18.

       44.     Page 5 of the term sheet makes clear that GFE owns all GFW Amped content.

       45.     During the build up to Anthem Wrestling’s Slammiversary pay-per-view event in

June 2017, Anthem Wrestling publicly announced that it had entered into an agreement to acquire

GFE.




                                     8 02/21/19 Page 8 of 32 PageID #: 457
   Case 3:18-cv-00749 Document 54 Filed
         46.   In the press release announcing the agreement, Anthem Wrestling and Anthem

Sports stated in pertinent part:




         47.   Notwithstanding the wide-spread publicity for the proposed merger, Anthem

Wrestling terminated Mr. Jarrett’s employment in October 2017.

         48.   Anthem Wrestling and GFE never completed the merger contemplated in the term

sheet.

         49.   Anthem Wrestling is not currently providing any entertainment services, namely

wrestling exhibits and performances by a professional wrestler and entertainer, under Mr. Jarrett’s

name.

         50.   Anthem Wrestling is not providing wrestling news and information via a global

computer network under Mr. Jarrett’s name.

         51.   Anthem Wrestling has no intent to re-hire Mr. Jarrett.



                                     9 02/21/19 Page 9 of 32 PageID #: 458
   Case 3:18-cv-00749 Document 54 Filed
D.      DEFENDANTS’ UNAUTHORIZED USES OF COPYRIGHTED CONTENT AND
                 CONFUSINGLY SIMILAR TRADEMARKS

       52.     Even though Anthem Wrestling and GFE did not merge, and despite Anthem

Wrestling’s acknowledgement of GFE’s ownership of all GFW Amped content, Defendants

reproduced, distributed, publicly displayed, offered for sale, and sold the GFW Amped content

without providing any compensation or royalties to GFE or Mr. Jarrett.

       53.     Defendants first promoted the GFW Amped content as a four-part pay-per-view on

or about July 19, 2017 (the “Amped PPV”).

       54.     Defendants promoted and continue to promote the Amped PPV on the Fight

Network website at http://fightnetwork.com/news/6614609:gfw-amped-anthology-4-part-series-

airs-on-pay-per-view-aug-11/, as shown in part below:




A true and correct copy of a screen capture of the full page was attached to the First Amended

Complaint as Exhibit 3 and is in the record at Dkt. 15-3.




                                    10 02/21/19 Page 10 of 32 PageID #: 459
  Case 3:18-cv-00749 Document 54 Filed
         55.   On August 11, 2017, Defendants aired “GFW Amped Anthology – Part 1” as a part

of their pay-per-view “One Night Only” series, which contained material from the GFW Amped

content.

         56.   On September 15, 2017, Defendants aired “GFW Amped Anthology – Part 2” as a

part of their pay-per-view “One Night Only” series, which contained material from the GFW

Amped content.

         57.   On October 13, 2017, Defendants aired “GFW Amped Anthology – Part 3” as a

part of their pay-per-view “One Night Only” series, which contained material from the GFW

Amped content.

         58.   On December 8, 2017, Defendants aired “GFW Amped Anthology – Part 4” as a

part of their pay-per-view “One Night Only” series, which contained material from the GFW

Amped content.

         59.   Upon information and belief, Defendants continue to monetize the GFW Amped

content as pay-per-view, premium television, streaming, and other viewing options on a worldwide

scale.

         60.   Anthem Wrestling has sold and continues to sell DVD copies of the GFW Amped

content on its website www.shopimpact.com and other online retail outlets. A true and correct

copy of a screen capture from the website was attached to the First Amended Complaint as Exhibit

4 and is in the record at Dkt. 15-4.

         61.   In or around October 2017, Defendants launched a new subscription streaming

service known as the Global Wrestling Network, which features archive content from TNA and/or

IMPACT! as well as footage from other providers.




                                     11 02/21/19 Page 11 of 32 PageID #: 460
   Case 3:18-cv-00749 Document 54 Filed
         62.   The Global Wrestling Network operates under both the Global Wrestling Network

name and GWN, which is similar to Global Force Wrestling and GFW.

         63.   The logo for the Global Wrestling Network contains a green color identical or

nearly identical to the green color in GFE’s logo as shown below:

 Plaintiff Global Force Wrestling, Inc.      Defendants’ Global Wrestling Network




         64.   Defendants are offering the GFW Amped content to subscribers through the Global

Wrestling Network. A true and correct copy of a screen capture from the Global Wrestling

Network was attached to the First Amended Complaint as Exhibit 5 and is in the record at Dkt.

15-5.

         65.   Defendants’ unauthorized reproductions of the GFW Amped content feature both

of Plaintiffs’ registered trademarks, including on the packaging and in conjunction with online

sales.




                                     12 02/21/19 Page 12 of 32 PageID #: 461
   Case 3:18-cv-00749 Document 54 Filed
       66.     Both the promotional video and the product packaging for three of the four “GFW

Amped Anthology” discs display a prominent image of Mr. Jarrett on the cover. True and correct

copies of images of the products’ packaging is shown in Dkt. 15-4.

       67.     Defendants do not have a license to use, reproduce, distribute, and/or publicly

display the GFW Amped content.

       68.     Defendants do not have a license to use, reproduce, distribute, and/or publicly

display GFE’s trademarks in word or logo format.

       69.     Defendants do not have a license to use, reproduce, distribute, and/or publicly

display Mr. Jarrett’s name or image in connection with the GFW Amped content.

                      E.        DEFENDANTS’ DISCOVERY RESPONSES

       70.     As a direct and proximate result of Defendants’ intentional actions and statements,

Plaintiffs have suffered irreparable harm and loss of goodwill.

       71.     Plaintiffs hand-served requests for production upon Defendants immediately

following the case management conference on October 31, 2018.

       72.     Defendants responded to the requests on November 30, 2018. A true and correct

copy of the responses to the requests for production are attached hereto as Exhibit B.

       73.     In their responses, Defendants admitted that they destroyed the only copy of

Plaintiffs’ copyrighted master recordings that are at issue in this case.

       74.     The destruction of the master recordings was not known at the time of filing of the

original Complaint or the First Amended Complaint.

                           F.     U.S. REGISTRATION NO. 3,269,268

       75.     Anthem Wrestling claims to be the owner via assignment of U.S. Registration No.

3,269,268 for JEFF JARRETT for use in connection with “toy action figures and accessories




                                     13 02/21/19 Page 13 of 32 PageID #: 462
   Case 3:18-cv-00749 Document 54 Filed
therefor” and “Entertainment services, namely wrestling exhibits and performances by a

professional wrestler and entertainer; providing wrestling news and information via a global

computer network.”

       76.     Anthem Wrestling is not currently using JEFF JARRETT in connection with “toy

action figures and accessories therefor” and has no intent to resume such use.

       77.     Anthem Wrestling is not currently using JEFF JARRETT in connection with

“Entertainment services, namely wrestling exhibits and performances by a professional wrestler

and entertainer; providing wrestling news and information via a global computer network” and has

no intent to resume such use.

                         G.     PLAINTIFFS’ IRREPARABLE HARM

       78.     As a direct and proximate result of Defendants’ intentional actions and statements,

Plaintiffs have suffered irreparable harm and loss of goodwill.

       79.     The harm to the reputation of Plaintiffs is per se irreparable.

       80.     The harm also is irreparable because it cannot be completely remedied.

       81.     The harm further is irreparable because given the nature of the advertising and

promoting the loss of identifiable consumers is not readily obtainable.

                                 V.      CAUSES OF ACTION

                                            COUNT I

                                COPYRIGHT INFRINGEMENT

                                      (against all Defendants)

       82.     GFE incorporates the preceding paragraphs as though fully set forth herein.

       83.     Defendants have violated and, upon information and belief, continue to violate

GFE’s exclusive rights in the GFW Amped content and the 16 associated copyrights, including,

but not limited to, the right to reproduce, right to prepare and sell derivative works, and right to



                                     14 02/21/19 Page 14 of 32 PageID #: 463
   Case 3:18-cv-00749 Document 54 Filed
vend by copying, publishing, distributing, and publicly displaying in the marketplace in this

District, and in all marketplaces reached by the Internet, videos that were copied or otherwise

derived from the GFW Amped content.

       84.     Defendants have copied, published, distributed, and publicly displayed the GFW

Amped content in numerous ways, including, but not limited to, in the four-volume GFW Amped

Anthology DVD series via download and/or streaming, and via pay-per-view.

       85.     As a direct and proximate result of Defendants’ wrongful conduct, GFE has

suffered and continues to suffer damages.

       86.     Defendants’ infringement of GFE’s copyrights in the GFW Amped content has

been and continues to be committed willfully.

       87.     Defendants’ actions constitute copyright infringement under 17 U.S.C. § 501.

       88.     GFE generally avers that all conditions precedent to its rights of recovery have

occurred or been performed.

       89.     GFE is entitled to recover the actual damages suffered by GFE as a result of

Defendants’ infringement, in addition to any of Defendants’ profits attributable to the infringement

not taken into account in computing the actual damages.

                                            COUNT II

       VIOLATION OF TENNESSEE PERSONAL RIGHTS PROTECTION ACT

                                     (against all Defendants)

       90.     Mr. Jarret incorporates the preceding paragraphs as though fully set forth herein.

       91.     Mr. Jarret is an internationally known two-time Hall of Fame wrestler and

businessman who has a property right in his name, photograph, and likeness under TENN. CODE

ANN. § 47-25-1104.




                                    15 02/21/19 Page 15 of 32 PageID #: 464
  Case 3:18-cv-00749 Document 54 Filed
       92.      Defendants have violated Mr. Jarrett’s exclusive property rights in his own name,

photograph, and other likeness by using his name, photograph, and likeness, as well as his video-

recorded performances, in their unauthorized copying, sales, distribution, and marketing of the

GFW Amped content.

       93.     As a direct and proximate result of Defendants’ wrongful conduct, Mr. Jarrett has

suffered damages.

       94.     Defendants’ violation of Mr. Jarrett’s right of publicity has been and continues to

be committed willfully.

       95.     Pursuant to TENN. CODE ANN. § 47-25-1105(a), Mr. Jarret is entitled to injunctive

relief ordering seizure of the GFW Amped content from Defendants.

       96.     Pursuant to TENN. CODE ANN. § 47-25-1106(b) and (c), Mr. Jarret is entitled to

injunctive relief ordering impoundment and/or destruction of the unauthorized copies of the GFW

Amped content and any plates, molds, matrices, masters, tapes, film negatives, or other articles by

means of which the GFW Amped content may be reproduced.

       97.     Pursuant to TENN. CODE ANN. § 47-25-1106(d)(1), Mr. Jarret is entitled to recover

the actual damages suffered as a result of the knowing use or infringement of his rights and any

profits that are attributable to such use or infringement which are not taken into account in

computing the actual damages.

                                           COUNT III

                FEDERAL AND STATE TRADEMARK INFRINGEMENT

                                    (against all Defendants)

       98.     GFE incorporates the preceding paragraphs as though fully set forth herein.

       99.     Defendants’ use of GFW (particularly in connection with the GFW Amped

content), GLOBAL WRESTLING NETWORK, the GLOBAL WRESTING NETWORK logo,



                                    16 02/21/19 Page 16 of 32 PageID #: 465
  Case 3:18-cv-00749 Document 54 Filed
GWN, and the GWN logo constitute infringement of GFE’s exclusive rights to the GLOBAL

FORCE WRESTLING and GFW trademarks (both words and logo) in violation of the Lanham

Act, specifically 15 U.S.C. § 1114(1) and § 1125, and of GFE’s trademark rights under Tennessee

law.

       100.      Defendants have used in commerce a reproduction, counterfeit, copy, and/or

colorable imitation of the GLOBAL FORCE WRESTLING and GFW trademarks (both words and

logo) in connection with the sale, offering for sale, distribution, or advertising of Defendants’

goods, including, but not limited, to the DVD and streaming copies of the Amped content, or

services, on or in connection with which such use is likely to cause confusion, to cause mistake,

or to deceive.

       101.      Defendants’ acts of infringement have caused GFE damages, and GFE seeks

judgment pursuant to 15 U.S.C. § 1117 and Tennessee law for profits resulting from Defendants’

unauthorized and infringing use of the GLOBAL FORCE WRESTLING and GFW trademarks

(both words and logo), or variants thereof, similar to or likely to cause confusion with the

GLOBAL FORCE WRESTLING and GFW trademarks (both words and logo); for the damages

sustained by GFE; for all costs necessary to remediate the infringing uses and their effects; and for

the costs, expenses, and reasonable attorney fees (as this is an exceptional case) incurred in

bringing the present action and prior attempts to remedy Defendants’ actions.

       102.      Pursuant to 15 U.S.C. § 1117(b) GFE seeks an award of punitive and/or treble

damages for at least three times the amount of Defendants’ profits or GFE’s damages, whichever

is greater, due to the nature of Defendants’ wanton and willful conduct.

       103.      Pursuant to 15 U.S.C. § 1116 and equity, GFE is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.




                                     17 02/21/19 Page 17 of 32 PageID #: 466
   Case 3:18-cv-00749 Document 54 Filed
        104.    Pursuant to 15 U.S.C. § 1118 and equity, GFE is entitled to impoundment and

destruction of all infringing articles.

        105.    GFE is further entitled to all available remedies provided by common law,

including, but not limited, to temporary and permanent injunctive relief; Defendants’ profits; any

damages sustained by GFE; and costs.

                                                COUNT IV

                                TRADE NAME INFRINGEMENT

                                          (against all Defendants)

        106.    GFE incorporate the preceding paragraphs as though fully set forth herein.

        107.    Defendants’ acts constitute trade name infringement in violation of GFE’s trade

name rights at common law.

        108.    Defendants’ acts of infringement have caused GFE damages, and GFE seeks

judgment for profits resulting from Defendants’ unauthorized and infringing use of GFE’s trade

name; for the damages sustained by GFE; for all costs necessary to remediate the infringing uses

and their effects; for punitive damages; and for the costs incurred in bringing the present action.

        109.    Further, GFE is entitled to preliminary and permanent injunctive relief against

Defendants to stop the illegal conduct.

                                                COUNT V

        FEDERAL TRADEMARK COUNTERFEITING IN VIOLATION OF THE
                    LANHAM ACT, 15 U.S.C. § 1114(1)(a)

                                          (against all Defendants)

        110.    GFE incorporates the preceding paragraphs as though fully set forth herein.

        111.    Defendants’ acts constitute infringement of GFE’s exclusive rights to the GLOBAL

FORCE WRESTLING and GFW trademarks (both words and logo) in violation of the Lanham




                                     18 02/21/19 Page 18 of 32 PageID #: 467
   Case 3:18-cv-00749 Document 54 Filed
Act, specifically 15 U.S.C. § 1114(1) and § 1125, and of GFE’s trademark rights under Tennessee

common law.

       112.      Defendants have used in commerce a reproduction, counterfeit, copy, or colorable

imitation of the GLOBAL FORCE WRESTLING and GFW trademarks (both words and logo) in

connection with the sale, offering for sale, distribution, or advertising of Defendants’ goods or

services, on or in connection with which such use is likely to cause confusion, to cause mistake,

or to deceive.

       113.      Defendants’ use of the GLOBAL FORCE WRESTLING and GFW trademarks are

counterfeits of the GLOBAL FORCE WRESTLING and GFW trademarks that it registered on the

principal register in the United States Patent and Trademark Office for such goods or services sold,

offered for sale, or distributed and that is in use, whether or not Defendants knew such marks were

so registered.

       114.      Defendants’ uses of GLOBAL FORCE WRESTLING and GFW trademarks are

spurious and identical with, or substantially indistinguishable from, GFE’s GLOBAL FORCE

WRESTLING and GFW trademarks.

       115.      Defendants have infringed GFE’s registered GLOBAL FORCE WRESTLING and

GFW trademarks in violation of 15 U.S.C. § 1114.

       116.      Defendants intentionally used the infringing marks knowing that the infringing

marks are counterfeit marks as defined by 15 U.S.C. §1116.

       117.      Defendants’ acts of infringement have caused GFE damages, and GFE seeks

judgment pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by Defendants’ unauthorized

and infringing use of the counterfeit marks, or variants thereof similar to or likely to cause

confusion with GLOBAL FORCE WRESTLING and GFW trademarks, for the damages sustained




                                     19 02/21/19 Page 19 of 32 PageID #: 468
   Case 3:18-cv-00749 Document 54 Filed
by GFE, for all costs necessary to remediate the infringing uses and their effects, and for the costs,

expenses, and reasonable attorney fees (as this is an exceptional case) incurred in bringing the

present action and prior attempts to remedy Defendants’ actions.

       118.    GFE seeks an award of punitive and/or treble damages for at least three times the

amount of Defendants’ profits or GFE’s damages, whichever is greater, due to the nature of

Defendants’ wanton and willful conduct.

       119.    Pursuant to 15 U.S.C. § 1116 and equity, GFE is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.

       120.    Pursuant to 15 U.S.C. § 1118 and equity, GFE is entitled to impoundment and

destruction of infringing articles.

       121.    GFE is further entitled to all available remedies provided by common law,

including, but not limited, to temporary and permanent injunctive relief; Defendants’ profits; any

damages sustained by GFE; and costs.

                                            COUNT VI

      FEDERAL STATUTORY UNFAIR COMPETITION IN VIOLATION OF THE
                    LANHAM ACT, 15 U.S.C. § 1125(a)

                                      (against all Defendants)

       122.    GFE incorporates the preceding paragraphs as though fully set forth herein.

       123.    Defendants have used names and marks which are identical or confusingly similar

to the GLOBAL FORCE WRESTLING and GFW trademarks (both words and logo) with the

intent to deceive the public into believing that goods and services offered or sold by Defendants

are made by, approved by, sponsored by, or affiliated with GFE.




                                     20 02/21/19 Page 20 of 32 PageID #: 469
   Case 3:18-cv-00749 Document 54 Filed
       124.    Defendants’ acts as alleged herein were committed with the intent to pass off

Defendants’ goods and services as the goods and services of, approved by, sponsored by, or

affiliated with GFE, and with the intent to deceive and defraud the public.

       125.    Defendants’ acts constitute unfair competition and passing off, and have caused

GFE damages, including, without limitation, lost profits, harm to reputation, and costs to remediate

the confusion and harm to GFE’s goodwill and reputation caused by Defendants.

       126.    Defendants’ acts constitute violations of 15 U.S.C. § 1125.

       127.    Defendants’ acts of unfair competition have caused GFE damages, and GFE seeks

judgment pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by Defendants’ unfair

competition and passing off of GFE’s goods and services, for the damages sustained by GFE, for

all costs necessary to remediate the unfair competition and passing off and their effects, and for

the costs, expenses, and reasonable attorney fees (as this is an exceptional case) incurred in

bringing the present action and prior attempts to remedy Defendants’ actions.

       128.    GFE further seeks judgment for three times the amount of Defendants’ profits or

GFE’s damages, whichever is greater, due to the nature of Defendants’ conduct.

       129.    Pursuant to 15 U.S.C. § 1116 and equity, GFE is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.

       130.    Pursuant to 15 U.S.C. § 1118 and equity, GFE is entitled to impoundment and

destruction of infringing articles.

                                           COUNT VII

   FALSE DESIGNATION OF ORIGIN IN VIOLATION OF THE LANHAM ACT, 15
                           U.S.C. § 1125(a)

                                      (against all Defendants)

       131.    GFE incorporates the preceding paragraphs as though fully set forth herein.




                                     21 02/21/19 Page 21 of 32 PageID #: 470
   Case 3:18-cv-00749 Document 54 Filed
       132.    Defendants have caused products and/or services to enter interstate commerce

designated with variations of the GLOBAL FORCE WRESTLING and GFW trademarks (both

words and logo).

       133.    Defendants’ use of said designation and other representations constitute a false

designation of origin which is likely to cause confusion, to cause mistake, and to deceive as to the

affiliation, connection, or association of Defendants with GFE and as to the origin, sponsorship,

or approval of such goods and services by GFE.

       134.    Defendants’ acts are in violation of 15 U.S.C. § 1125 in that Defendants have used

in connection with their goods and services a false designation of origin, or a false or misleading

description and representation of fact, which is likely to cause confusion, and to cause mistake,

and to deceive as to the affiliation, connection, or association of Defendants with GFE and as to

the origin, sponsorship, and approval of Defendants’ goods, services, and commercial activities by

GFE.

       135.    Defendants’ acts have caused GFE damages, and GFE seeks judgment pursuant to

15 U.S.C. § 1117 for Defendants’ profits made by Defendants’ unfair competition and passing off

of GFE’s goods and services, for the damages sustained by GFE, for all costs necessary to

remediate the unlawful acts and their effects, and for the costs, expenses, and reasonable attorney

fees (as this is an exceptional case) incurred in bringing the present action and prior attempts to

remedy Defendants’ actions.

       136.    GFE further seeks judgment for three times the amount of Defendants’ profits or

GFE’s damages, whichever is greater, due to the nature of Defendants’ conduct.

       137.    Pursuant to 15 U.S.C. § 1116 and equity, GFE is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.




                                    22 02/21/19 Page 22 of 32 PageID #: 471
  Case 3:18-cv-00749 Document 54 Filed
       138.    Pursuant to 15 U.S.C. § 1118 and equity, GFE is entitled to impoundment and

destruction of infringing articles.

                                           COUNT VIII

      UNFAIR COMPETITION IN VIOLATION OF TENNESSEE COMMON LAW

                                      (against all Defendants)

       139.    GFE incorporates the preceding paragraphs as though fully set forth herein.

       140.    As alleged herein, GFE owns the GLOBAL FORCE WRESTLING and GFW

trademarks (both words and logo).

       141.    As alleged herein, the GLOBAL FORCE WRESTLING and GFW trademarks

(both words and logo) are valid and legally protectable.

       142.    Defendants’ infringing use of the GLOBAL FORCE WRESTLING and GFW

trademarks (both words and logo), and/or variants thereof similar to or likely to cause confusion

with the GLOBAL FORCE WRESTLING and GFW trademarks (both words and logo), is likely

to cause confusion concerning the origin of the goods and services associated with the mark.

       143.    GFE and Defendants compete for a common pool of customers. As alleged herein,

Defendants have engaged in unfair, deceptive, or fraudulent conduct, which is likely to cause, if it

has not already, customer confusion in violation of Tennessee common law.

       144.    Through Defendants’ unauthorized use of the GLOBAL FORCE WRESTLING

and GFW trademarks (both words and logo), and/or variants thereof similar to or likely to cause

confusion with the GLOBAL FORCE WRESTLING and GFW trademarks (both words and logo),

in connection with their products and services, on the Fight Network and Global Wrestling

Network (both broadcast, streaming, and websites), on the IMPACT! website, and in other

commerce, Defendants have committed trademark infringement, passing off, palming off,




                                     23 02/21/19 Page 23 of 32 PageID #: 472
   Case 3:18-cv-00749 Document 54 Filed
imitating, and/or unfair or deceptive practices that are causing or are likely to cause confusion or

deception.

       145.       Defendants are liable to GFE for unfair competition under Tennessee law, because

Defendants’ conduct is tortious and has deprived GFE of customers and other prospects.

       146.       Defendants’ acts as alleged herein were committed with the intent to deceive and

defraud the public in order to gain an increase its sales, customer base, and share in the wrestling

industry and/or eliminate GFE from that industry.

       147.       Defendants’ acts as alleged herein constitute unfair competition in violation of

Tennessee law.

       148.       Defendants’ acts constituting unfair competition have caused GFE damages as

alleged herein.

       149.       Defendants’ foregoing acts constitute unfair competition and infringement of

GFE’s common law rights for which GFE has no adequate remedy at law.

       150.       Defendants’ acts of unfair competition have caused GFE damages, and GFE seeks

judgment for the damages sustained by GFE; for all costs necessary to remediate the unfair

competition and passing off and their effects; and for the costs incurred in bringing the present

action and prior attempts to remedy Defendants’ actions.

       151.       GFE further seeks judgment for punitive damages of at least three times the amount

of Defendants’ profits or GFE’s damages, whichever is greater, due to the nature of Defendants’

conduct.

       152.       Further, GFE is entitled to preliminary and permanent injunctive relief against

Defendants to stop the illegal conduct.




                                     24 02/21/19 Page 24 of 32 PageID #: 473
   Case 3:18-cv-00749 Document 54 Filed
                                              COUNT IX

                            COMMON LAW UNJUST ENRICHMENT

                                       (against all Defendants)

       153.       GFE incorporates the preceding paragraphs as though fully set forth herein.

       154.       Upon information and belief, Defendants’ willful and knowing acts, including its

use of GFE’s trademarks and trade names, permitted Defendants to procure customers that it

otherwise would not have been able to obtain.

       155.       GFE has conferred a benefit, directly or indirectly, upon Defendants through

Defendants’ use of the infringing marks.

       156.       Defendants have received appreciable benefits from using the infringing marks in

commerce.

       157.       It is inequitable for Defendants to retain the benefits of the use of the infringing

marks, including, but not limited to, monetary and reputational benefits and value of GFE’s

trademarks.

       158.       Defendants’ acts have caused GFE damages such that monetary (compensatory,

incidental, and punitive) and injunctive remedies are appropriate.

       159.       Defendants have been unjustly enriched by virtue of its use of the infringing marks,

to the detriment of GFE, as well as consumers in the marketplace.

       160.       Defendants’ actions have been made willfully and knowingly.

       161.       Defendants’ acts have caused GFE damages and unjustly enriched Defendants as

alleged herein.

       162.       GFE is entitled to all available remedies, including preliminary and permanent

injunctive relief, damages, Defendants’ profits, enhanced damages, and costs.

                                              COUNT X



                                    25 02/21/19 Page 25 of 32 PageID #: 474
  Case 3:18-cv-00749 Document 54 Filed
               TENNESSEE CONSUMER PROTECTION ACT VIOLATIONS

        163.    GFE incorporates the preceding paragraphs as though fully set forth herein.

        164.    Defendants’ statement, actions and/or omissions constitute unfair and/or deceptive

practice in violation of the Tennessee Consumer Protection Act, TENN. CODE ANN. § 47-18-101 et

seq., including, but not limited to:

       Representing that goods or services have sponsorships, approval, characteristics,
        ingredients, uses, benefits or quantities that they do not have (TENN. CODE ANN. § 47-18-
        104(5));and

       Using statements or illustrations in any advertisement which create a false impression of
        the grade, quality, quantity, make, value, age, size, color, usability or origin of the goods
        offered in such a manner that later, on the disclosure of the true facts, there is a likelihood
        that the buyer may be switched from the advertised goods or services to other goods or
        services (TENN. CODE ANN. § 47-18-104(21)).

        165.    GFE has suffered an ascertainable loss of money and market share as a result of the

use or employment by Defendants of the aforementioned unfair or deceptive acts or practices.

        166.    Defendants’ acts are and were willful and knowing, thus entitling GFE to all

available remedies pursuant to the Tennessee Consumer Protection Act, including, but not limited

to, preliminary and permanent injunctive relief; GFE’s damages; Defendants’ profits; treble

damages; attorney fees; expenses; costs; pre-judgment and post-judgment interest; and other

equitable relief.

                                             COUNT XI

                               CONVERSION AND/OR TROVER

                                       (against all Defendants)

        167.    Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.

        168.    Defendants came into possession of the only set of masters of the 16 one-hour

episodes of GFW Amped.




                                     26 02/21/19 Page 26 of 32 PageID #: 475
   Case 3:18-cv-00749 Document 54 Filed
       169.    Plaintiffs are the rightful owners of the masters.

       170.    Plaintiffs have made a demand for the return of the masters.

       171.    Defendants have no ownership rights in the masters.

       172.    Defendants are legally obligated to return the masters to Plaintiffs.

       173.    Defendants refused to return the masters to Plaintiffs.

       174.    Defendants defied Plaintiffs’ rights in the masters by intentionally exercising

dominion and control over the same.

       175.    Defendants appropriated the masters for Defendants’ own use and benefit.

       176.    Defendants intentionally deleted, destroyed, or otherwise wrongfully disposed of

the masters.

       177.    Defendants knew at the time of deletion, destruction, or other disposal of the

masters that they did not own the masters.

       178.    Defendants’ intentional invasion of Plaintiffs’ possessory rights in the masters is of

such a high level that it constitutes conversion.

       179.    GFE is entitled to all available remedies, including damages, Defendants’ profits,

costs, and recovery of the value of the masters, which are valued in excess of $300,000 per each

one-hour episode.

       180.    GFE further seeks an award of punitive and/or treble damages for at least three

times the amount of Defendants’ profits and/or GFE’s damages, whichever is greater, due to the

nature of Defendants’ intentional, wanton, willful and/or malicious conduct.

                                            COUNT XII

                                          NEGLIGENCE

                                      (against all Defendants)




                                     27 02/21/19 Page 27 of 32 PageID #: 476
   Case 3:18-cv-00749 Document 54 Filed
        181.     Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.

        182.     At all times relevant, Defendants owed Plaintiffs a duty of reasonable care.

        183.     A reasonable person under like circumstances would not have lost or destroyed or

permitted the loss or destruction of the masters.

        184.     Defendants breached the duty of reasonable care owed to Plaintiffs by losing,

destroying, or otherwise disposing of the masters.

        185.     Defendants’ breach actually and proximately caused, and continues to cause, harm

and loss to Plaintiffs.

        186.     Defendants were aware of, but consciously disregarded, the substantial and

unjustifiable risk of harm caused to Plaintiffs upon disposal of the masters, constituting a gross

deviation from the standard of care that and ordinary person would exercise under the

circumstances.

        187.     GFE is entitled to all available remedies, including damages, Defendants’ profits,

costs, and recovery of the value of the masters, which are valued in excess of $300,000 per each

one-hour episode.

        188.     GFE further seeks an award of punitive and/or treble damages for at least three

times the amount of Defendants’ profits and/or GFE’s damages, whichever is greater, due to the

egregious nature of Defendants’ reckless conduct.

                                            COUNT XIII

CANCELLATION OF THE “JEFF JARRET” TRADEMARK REGISTRATION UNDER
   THE LANHAM ACT, 15 U.S.C. § 1127 AND DECLARATORY JUDGMENT OF
                           ABANDONMENT

                                      (against all Defendants)

        189.     Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.




                                     28 02/21/19 Page 28 of 32 PageID #: 477
   Case 3:18-cv-00749 Document 54 Filed
       190.     Defendants terminated their business relationship with Mr. Jarrett at the end of

October 2017.

       191.     Defendants have discontinued use of the JEFF JARRETT trademark with no

legitimate intent to resume use.

       192.     Defendants have abandoned the JEFF JARRETT trademark.

       193.     Plaintiffs seek cancellation of U.S. Registration No. 3,269,268 for JEFF JARRETT

for the reason of, at least, nonuse and/or abandonment with no legitimate intent to resume use.

       194.     Plaintiffs also seek a declaratory judgment under 28 U.S.C. § 2201 that Defendants

do not own valid, existing, and enforceable trademarks rights in Mr. Jarrett’s name including

without limitation JEFF JARRETT.

                                VI.      REQUEST FOR RELIEF

       Wherefore, Plaintiffs requests the following relief:

       1.       Entry of judgment in favor of Plaintiffs and against Defendants as applicable and

set forth in each of the above Counts;

       2.       Awarded Plaintiffs all relief to which they are entitled under the Lanham Act;

TENN. CODE ANN. §§ 47-18-101 et seq. and 47-25-1100 et seq.; and Tennessee common law;

       3.       Entry of a preliminary and permanent injunction that enjoins Defendants, their

officers, agents, servants, employees, and attorneys, and any other persons who are in active

concert or participation with any of the foregoing, from copying, distributing, offering for sale,

selling, and displaying the GFW Amped content;

       4.       Entry of a preliminary and permanent injunction that enjoins Defendants, their

officers, agents, servants, employees, and attorneys, and any other persons who are in active

concert or participation with any of the foregoing, from using, copying, distributing, offering for




                                    29 02/21/19 Page 29 of 32 PageID #: 478
  Case 3:18-cv-00749 Document 54 Filed
sale, selling, and displaying the GLOBAL FORCE WRESTLING (word and logo) and GFW

(word and logo) trademarks and/or any confusingly similar variants thereof including, but not

limited to, Global Wrestling Network, GWN, and the GWN logo;

        5.       Entry of a preliminary and permanent injunction that enjoins Defendants, their

officers, agents, servants, employees, and attorneys, and any other persons who are in active

concert or participation with any of the foregoing, from using, copying, distributing, offering for

sale, selling, and displaying any image or likeness of Mr. Jarrett that is not otherwise properly

licensed;

        6.       Entry of an order that mandates Defendant, its officers, agents, servants, employees,

and attorneys, and any other persons who are in active concert or participation with any of the

foregoing, shall delete and/or destroy all copies of the GFW Amped content in Defendants’

possession, custody, and/or control, and all of the materials used to create such copies or stream

copies, except for the masters of the GFW Amped content which shall be ordered to be returned

immediately to GFE;

        7.       Determination by the Court that Defendants’ acts are deemed exceptional under 15

U.S.C. § 1117;

        8.       Entry of an award in favor of Plaintiffs and against Defendants for monetary

damages based on Defendants’ profits, Plaintiffs’ damages, treble damages, punitive damages,

reasonable attorney fees, litigation expenses, costs, prejudgment interest, and post-judgment

interest;

        9.       Cancellation of U.S. Registration No. 3,269,268 for JEFF JARRETT;




                                     30 02/21/19 Page 30 of 32 PageID #: 479
   Case 3:18-cv-00749 Document 54 Filed
       10.     Entry of a declaratory judgment that Defendants do not own valid, existing, and

enforceable trademarks rights in Mr. Jarrett’s name including without limitation JEFF JARRETT;

and

       11.     Entry and award of such other and further relief the Court deems just and proper.

                                     VII.    JURY DEMAND

       Plaintiffs request trial by jury for all issues, claims, and defenses so triable.


Dated: December 13, 2018                       Respectfully submitted,
                                               MILLER LEGAL PARTNERS PLLC

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                                               Counsel for Plaintiffs

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of December 2018, the foregoing document was filed
and served via the Court’s CM/ECF filing system:


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                                    31 02/21/19 Page 31 of 32 PageID #: 480
  Case 3:18-cv-00749 Document 54 Filed
                                      /s/ A. Grace Van Dyke James
                                      A. Grace Van Dyke James




                                  32 02/21/19 Page 32 of 32 PageID #: 481
Case 3:18-cv-00749 Document 54 Filed
